          Case 2:19-cv-00358-JS Document 5 Filed 01/28/19 Page 1 of 6



               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_________________________________________
John Doe,                                 :
                                          :
                            Plaintiff,    :
      v.                                  : No. 19-cv-358-JS
                                          :
                                          :
University of the Sciences,               :
                                          :
                            Defendant.    :
________________________________________ :

                                          ORDER


       AND NOW, this ___ day of _____________, 2019, upon consideration

of the Motion of Plaintiff, John Doe, for Preliminary Injunction, the

Memorandum of Law of Defendant, USciences, in Opposition to Plaintiff’s

Motion, and the evidence presented at the hearing before this Court on

January 28, 2019, it is hereby ORDERED that Plaintiff’s motion is DENIED.



                                           ________________________
                                           The Hon. Juan R. Sanchez
          Case 2:19-cv-00358-JS Document 5 Filed 01/28/19 Page 2 of 6




               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_________________________________________
John Doe,                                 :
                                          :
                            Plaintiff,    :
      v.                                  : No. 19-cv-358-JS
                                          :
                                          :
University of the Sciences,               :
                                          :
                            Defendant.    :
________________________________________ :

   MEMORANDUM OF LAW OF DEFENDANT, UNIVERSITY OF THE SCIENCES,
             IN OPPOSITION TO PLAINTIFF’S MOTION FOR
     TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       After a full and thorough investigation, Plaintiff was found responsible for two

separate acts of engaging in nonconsensual sex with two victims. Nevertheless,

Plaintiff seeks the extraordinary remedy of a preliminary injunction that allows him to

immediately return to school at the University of the Sciences (“USciences”), where both

victims are still in school. As will be shown at the hearing scheduled on January 28,

2019, Plaintiff cannot meet his heavy burden of showing that he is entitled to a

preliminary injunction.

        A temporary restraining order is an “extraordinary form of relief, designed to

temporarily maintain the status quo (generally for 14 days, and on rare occasions for

longer) while the parties prepare to litigate the issues on a motion for a preliminary

injunction.” Citibank N.A. v. Kyle, No. 15-3298, 2015 U.S. Dist. LEXIS 77504, *6 (E.D.

Pa. June 16, 2015), quoting Pileggi v. Aichele, 843 F. Supp. 2d 584, 592 (E.D. Pa.

2012). A preliminary injunction, too, is an “extraordinary remedy” and “should be
           Case 2:19-cv-00358-JS Document 5 Filed 01/28/19 Page 3 of 6



granted only in limited circumstances.” Id., quoting Kos Pharms., Inc. v. Andrix Corp.,

369 F.3d 700, 708 (3d Cir. 2004). To obtain a preliminary injunction, the moving party

must prove: (1) “a reasonable probability of eventual success in the litigation,” (2) a

probability of immediate irreparable injury if the injunction is not granted, (3) that

granting an injunction will not cause even greater harm to the other party, and (4) that

granting the injunction is in the public interest. Doe v. Princeton Univ., No. 18-16539,

2019 U.S. Dist. Ct. LEXIS 4449 (D.N.J. Jan. 9, 2019), citing Reilly v. City of Harrisburg,

858 F.3d 173, 176 (3d Cir. 2017). To prove probable success on the merits, a plaintiff

must make a showing “significantly better than negligible.” Reilly, 858 F.3d at 179. The

plaintiff must make a “clear showing of immediate irreparable harm” in the absence of a

preliminary injunction. Id.; Doe v. Princeton, 2019 U.S. Dist. LEXIS 4449, at **14-15.

       Plaintiff is not likely to succeed on the merits of this case. He takes issue with

the actions taken by USciences in investigating the two complaints of sexual assault.

His main gripes are (i) that only one investigator conducted the investigation of both

complaints, (ii) he did not have the ability to cross-examine the complainants, and (iii)

he did not have notice or an opportunity to defend himself against the allegations of

sexual assault. Plaintiff, however, cites to no Third Circuit law that prohibits a single-

investigator model for Title IX investigations, nor could he, as none exists. Plaintiff also

cites to no Third Circuit case law requiring a live hearing or the right to cross-

examination. See also Doe v. Princeton, 2019 U.S. Dist. LEXIS 4449, at **19-20

(“Plaintiff cites no authority showing that the Third Circuit or this Court has adopted the

same reasoning [requiring cross-examination] and the Court cannot identify any

precedent showing the same.”).) Plaintiff’s heavy reliance on the Department of



                                              2
           Case 2:19-cv-00358-JS Document 5 Filed 01/28/19 Page 4 of 6



Education’s proposed rules that address the right to cross-examine are misguided, as

the proposed DOE regulations are not law and have no binding effect on this Court.

Doe v. Princeton, 2019 U.S. Dist. LEXIS 4449, at *15 (“proposed regulations… have no

legal effect”), *24 (“the Proposed Regulations are merely proposals and do not have the

force of law”).

       Significantly, as will be shown at the hearing on the motion for preliminary

injunction, USciences followed its robust Title IX policy, acting swiftly, decisively, and

fairly at every step. Plaintiff had multiple opportunities to participate in the investigation,

suggest additional witnesses to be interviewed, and review the investigator’s findings

and reports, and he availed himself of those opportunities. Failure to show a likelihood

of success on the merits is fatal to Plaintiff’s request for relief.

       Plaintiff must also prove that he will suffer immediate irreparable harm in the

event the injunction is not entered. Even if Plaintiff is able to make a “clear showing” of

potential irreparable harm – which is denied – this Court must balance the harms of all

parties involved in this case. To allow Plaintiff to return to the USciences campus,

where he is likely to see both of the complainants on the University’s small campus and

is even registered for a class with one of the complainants, would cause significant

harm to both the complainants and to the University. The complainants are entitled to

pursue their education in an environment free from sexual assault and free from the

trauma, stress, anxiety, and re-victimization of seeing their abuser on campus. See,

e.g., Marshall v. Ohio Univ., No. 2:15-cv-775, **25-26 (S.D. Ohio Mar. 13, 2015)

(denying the motion for preliminary injunction and holding that the balance of the harms

weighed in favor of denying the injunction when the victim and the plaintiff would be



                                                3
           Case 2:19-cv-00358-JS Document 5 Filed 01/28/19 Page 5 of 6



placed in close proximity and the victim “can rightfully expect to pursue her education in

an environment free from the harassing behavior of a fellow student”). In addition, the

University would suffer harm (reputational and otherwise) if forced to allow Plaintiff to

return to campus after a thorough investigation found him responsible for two separate

acts of sexual assault. The public interest is also served by protecting victims of sexual

assault from being revictimized every time they see their abuser on campus, allowing

victims of sexual assault to pursue their education free of such revictimization and

trauma, and by allowing universities like USciences to enforce its policies against sexual

assault.

       For the foregoing reasons and the reasons addressed at the hearing on January

28, 2019, Defendant, USciences, respectfully requests that this Court deny Plaintiff’s

motion for a preliminary injunction.



                                          Respectfully submitted,

                                          TUCKER LAW GROUP, LLC


Date: January 28, 2019                    /s/ Leslie M. Greenspan
                                          Leslie M. Greenspan, Esquire
                                          Attorney ID No. 91639
                                          Ten Penn Center
                                          1801 Market Street, Suite 2500
                                          Philadelphia, PA 19103
                                          (215) 875-0609
                                          Attorneys for Defendant,
                                          University of the Sciences




                                             4
          Case 2:19-cv-00358-JS Document 5 Filed 01/28/19 Page 6 of 6



                               CERTIFICATE OF SERVICE

       I, Leslie M. Greenspan, Esquire certify that on this date, I caused a copy of the

foregoing document to be electronically filed through the Court’s ECF System and that a

notice of electronic filing will be generated to the following counsel of record, thereby

constituting service of the document:

                                 Riley H. Ross, III, Esquire
                                     Two Penn Center
                             1500 JFK Boulevard, Suite 1525
                                  Philadelphia, PA 19102
                              Attorney for Plaintiff, John Doe


                                          TUCKER LAW GROUP, LLC


Date: January 28, 2019                    /s/ Leslie M. Greenspan
                                          Leslie M. Greenspan, Esquire
